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 4   Attorneys for
     ELIZABETH CARRION
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 6
 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11   UNITED STATES OF AMERICA,           )                 No. CR. S-08-318 LKK
                                         )
12                     Plaintiff,        )
                                         )                 STIPULATION AND
13                                       )                 ORDER CONTINUING THE DATE FOR
           v.                            )                 SENTENCING FROM FEBRUARY 14,
14                                       )                 2012 TO MARCH 20, 2012
     ELIZABETH CARRION, et. al.,         )
15                                       )
                       Defendants.       )
16   ____________________________________)
17          The defendant, Elizabeth Carrion, and the United States, by and through their respective
18   attorneys, hereby stipulate that the Court should order that the date for sentencing currently set for
19   February 14, 2012 be continued to March 20, 2012.
20          According to defense counsel, Ms. Carrion is currently being treated for breast cancer by
21   chemotherapy and radiation and has recently had radical breast surgery. The defense has provided
22   the government with medical records confirming the diagnosis and treatment. The defense requires
23   a continuance in order to go over the PSR with Ms. Carrion and respond to it and to determine Ms.
24   Carrions need for future treatment prior to responding to the PSR.
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 1   ///
 2          The informal objections to the Pre-Sentence Report shall be due February 14, 2012. The
 3   final Pre-Sentence Report shall be filed with Court no later than February 21, 2012. The Motion
 4   to Correct the Pre-Sentence Report shall be filed no later than March 6, 2012
 5
 6   DATED: January 19, 2012                       /S/ Bruce Locke
                                                 BRUCE LOCKE
 7                                               Attorney for Elizabeth Carrion
 8
     DATED: January 19, 2012                        /S/ Bruce Locke
 9                                               For RUSSELL CARLBERG
                                                 Assistant United States Attorney
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11
12          IT IS SO ORDERED.
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     DATED: January 23, 2012
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